 

AO 93 (rev. llflJ) Sean:h and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Eastem District of Wisconsin
In the Matter of the Search of:

INFORMATION ASSOCIATED WITH "JANTZEN
MILLIONAIRE STATUS BOND" WITH A FACEBOOK
IDENTIF!CATION ADDRESS OF
HTTPS://WWW.FACEBOOK.COMIJANTZ.EN.BOND
STORED BY PREMISES CONTROLLED BY FACEBOOK
OF MENLO PARK, CAL[FORN]A

CaseNo. ]€'Y?l/Mé':)

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search of the following person
or property located in the E.astem District of Wisconsin:

See Attachment A

l find that the affidavit(s) or any recorded testimony, establish probable cause to search and seize the person or property described
above and that such search will reveal:

See Attachment B

  

¥O ARE COMMANDED to execute this warrant ON OR BEFORE
in the daytime between 6:00 a.m. and 10:00 p.m. |:| at any time in ' cause good cause has been established

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

'I`he officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory as required

by law and promptly return this warrant and inventory to Honorable Nancv .losenh
(Um`ted Stare.r Magistrare Judge)

121 Pursuant to 18 U.S.C. § 3103a(b), l find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
properly, ‘Nlll be Seal‘€h€d Ol' S€iZ€d (cher:k the appropriate box)

 

|:lfor _______days (not to exceed 30) |Z until, the facts justifying, the later specific date of 9_/_________25/2018.
Date and time issued: H l 2?¢ &2[( § kg é%§h
City and State: Milwaukee Wisoonsin Honorable Nan Jos h .S. M strate Jud

Pr:`n!ed Name and 'I`ir!e

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Return

 

Case No: Date and time wanant executed: Copy of warrant and inventory left with:

 

 

 

/J'Hr/m ¢4/; yj/P u//¢

lnventory made in the presence of :

/)/A

 

[nventory of the property taken and/or name of any person(s) seized:

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Certilication

 

l declare under penalty of perjury that this inventory is correct and was retumed along with the original warrant to the
undersigned judge.

Date: Q" !’/") z

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44 §L?WH /#zr/

Prim'ed name and title

Subscribed, sworn to, and returned before me this date:

Date: !%’I¢L"'C)( (%// JCYS Unrred$raresf?’(nrare.!ud

 

 

 

 

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ATTACHMENT A
Property to Be Searched
This warrant applies to information associated with the following Facebook Account(s):
¢ “Jantzen Millionaire Status Bond,” with a Facebook identification address of
thgs://Www.facebook.com/]'antzen.bond (Target Account)
that is stored at premises owned, maintained, controlled, or operated by Facebook, Inc., a

company headquartered in Menlo Park, California.

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AT'I`ACHMENT B

Particular Things to be Seized and Procedures
to Facilitate Execution of the Warrant

I. Information to be disclosed by Facebook

To the extent that the information described in Attachment A is within the possession,
custody, or control of Facebook, Inc. (“Facebook”), including any messages, records, files, logs,
or information that have been deleted but are still available to Facebook, or have been preserved
pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to disclose the
following information to the government for each user ID listed in Attachment A:

(a) All contact and personal identifying information, including User ID name, full
name, user identification number, birth date, gender, contact e-mail addresses,
Facebook passwords, Facebook security questions and answers, physical address
(including city, state, and zip code), telephone numbers, screen names, websites,
and other personal identifiers.

(b) All activity logs for the account and all other documents showing the user’s posts
and other Facebook activities;

(c) All photos and videos uploaded by that user ID and all photos and videos
uploaded by any user that have that user tagged in them;

(d) All profile information; News Feed information; status updates; links to videos,
photographs, articles and other such items; Notes; Wall Postings; friend lists,
including the friends’ Facebook user identification numbers; groups and networks
of which the user is a member, including the groups’ Facebook group

identification numbers; future and past event postings; rejected “Friend” requests;

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comments; gifcs; pokes; tags; and information about the user’s access and use of
Facebook applications;

All other records of communications and messages made or received by the user,
including all private messages, chat history, video calling history, and pending
“Friend” requests;

All “check ins” and other location information;

All lP logs, including all records of the lP addresses that logged into the account;
All records of the account’s usage of the “Like” feature, including all Facebook
posts and all non-Facebook webpages and content that the user has “liked“;

All information about the Facebook pages that the account is or was a “ an” of`;
All past and present lists of friends created by the account;

All records of Facebook searches performed by the account;

All information about the user’s access and use of Facebook Marketplace;

The types of service utilized by the user;

The length of service (inciuding start date) and the means and source of any
payments associated with the service (including any credit card or bank account
number);

All privacy settings and other account settings, including privacy settings for
individual Facebook posts and activities, and all records showing which Facebook
users have been blocked by the account;

All records pertaining to communications between Facebook and any person
regarding the user or the user’s Facebook account, including contacts with support

services and records of actions taken.

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II. Information to be seized by the government

All information described above in Section l that constitutes fruits, evidence, or
instrumentalities of, or contraband from, violations of Title 21, United States Code, Section 841
and 846, involving Jantzen Bond since January l, 2018, including, for each user lD identified on
Attachment A, information pertaining to the following matters:

(a) Messages, correspondence, documents, photographs, videos, recordings, and
records pertaining to the irnportation, movement, possession, purchase, use,
trafficking and distribution of narcotics; and

(b) Messages, correspondence, documents, photographs, videos, recordings, and
records pertaining to the identity and location of the account user(s);

(c) Evidence indicating how and when the Facebook account was accessed or used,
to determine the chronological and geographic context of account access, use, and
events relating to the crime under investigation and to the Facebook account
owner;

(d) Evidence indicating the Facebook account owner’s state of mind as it relates to
the crime under investigation;

(e) The identity of the person(s) who created or used the user ID, as decribed in
Attachrnent A, including records that help reveal the whereabouts of such
person(s).

(f) The identity of the person(s) Who communicated with the user ID, as described in
Attachment A, regarding matters relating to the aforementioned violations of

United States Code, including records that help reveal their whereabouts

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